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2000 Market Street
20th Floor
Philadelphia, PA 19103-3222
Tel (215) 299-2000 Fax (215) 299-2150
www.foxrothschild.com


WILLIAM H. STASSEN
Direct No: 215.299.2853
EMAIL: WSTASSEN@FOXROTHSCHILD.COM




April 2, 2019

VIA ELECTRONIC FILING

Honorable G. Michael Harvey
United States Magistrate Judge
United States District Court for the District of Columbia
333 Constitution Avenue, N.W.
Washington D.C. 20001

Re:       United States v. All Assets Held at Bank Julius Baer, et al.
          No. 1:04-CV-00798 PLF/GMH (D.D.C.)

Dear Magistrate Judge Harvey:

We write Your Honor to respond to the United States’ request that the Court clarify its March 27,
2019 Order concerning the deposition of Alexander Lazarenko.

First, contrary to the assertion of the United States, the Court’s March 27, 2019 Order [ECF-1135]
does not extend fact discovery as to all three of the Lazarenko children. Nor does that Order leave
all fact discovery open until some undefined date when Alexander Lazarenko sits for a deposition.
Instead, fact discovery is closed as to all of the Lazarenko children and Pavel Lazarenko with the
Court allowing Alexander Lazarenko’s deposition to be taken beyond the deadline set by this
Court, just as it has allowed Pavel Lazarenko’s deposition to take place after March 29, 2019.

Second, we had hoped the Parties could “dual track” this case by completing the fact discovery
while simultaneously finalizing the settlement agreement. Unfortunately, that has not occurred.
Indeed, we provided the United States with the most recent version of the settlement agreement
on February 28, 2019. During our March 5, 2019 hearing before Your Honor, the United States
stated that it would provide its revisions shortly. However, to date, the United States has not
provided a revised draft settlement agreement. The United States is focused on discovery instead
of finalizing the settlement agreement.
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As the Parties have not been able to both complete fact discovery and, at the same time, finalize
the settlement agreement, we respectfully request that expert discovery be stayed for thirty (30)
days and that the Parties focus during that time period only on (1) completing the depositions of
Pavel Lazarenko and Alexander Lazarenko, and (2) finalizing the settlement agreement. We are
mindful of the fact that we have consistently advocated for the opportunity to depose the United
States’ expert witnesses as soon as possible. Thus, it is with reluctance that we request the stay of
expert discovery. However, we believe the settlement agreement will not be finalized if the Parties
are distracted with expert discovery.

Accordingly, we respectfully request that the Court not reopen fact discovery for the Lazarenko
children and that the Court stay expert discovery for thirty days to allow the Parties to focus on
finalizing the settlement agreement.

Respectfully,




William H. Stassen

WHS:ad


cc:     All counsel of record (via ECF)
